 

Case ee eee Document 88-1 Filed 03/24/11 Page 1 of 31

 

 

   
 

Exhibit A
 

 

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ed 03/24/11 Page 2 of 31

Exponent Inc.

Metso Paper
v.
GE

 
 

 

Case eevee Document 88-1 Filed 03/24/11 Page 3 of 31

“ponent

Metso Paper
v.

GE

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August 31, 2010

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Case eee Document 88-1 Filed 03/24/11 Page 4 of 31

Metso Paper v. GE
Report of H.K. Kytomaa

August 31, 2010
Background
1. In November 2002, Metso Paper decided to upgrade and replace the existing
lighting at their Clarks Summit, PA facility. Andrew Kuzmick, a lighting sales
engineer, proposed the use of 48 Hubbell Tribay fixtures with open reflectors (i.e.
no lens covers) using GE MVR750/VBU/PA 750W Metal Halide lamps for this
application. Metso placed an order for the lamps in December 2002 which were
delivered to the Clarks Summit facility and installed in February 2003. After the
installation of these lamps, Metso operated these lamps continuously starting
Monday morning to Friday afternoon, when they were turned off at close of
business. The lamps were also operated over the weekend for short periods of
time on a regular basis. In 2004, Metso had the ballasts on all the 750W lamp
fixtures replaced after loud buzzing was heard from some of the fixtures. During
the period following the installation of the new lighting system, there is no
indication that Metso kept track of lamp usage hours, nor did Metso have a

group-relamping program in place at the time of the fire.

2. On January 21, 2006, Metso personnel working at the facility noticed a fire on
materials stored on a rack at their facility. They attempted to put out the fire using

fire extinguishers. The fire was eventually put out by the local fire department.

Subsequent investigations allege that the fire was started due to the rupture of an

 
 

Case ees Document 88-1 Filed 03/24/11 Page 5 of 31

operating GE 750W Metal Halide lamp. Hot particles from the lamp rupture are
alleged to have ignited combustible materials stored in the vicinity of one of the
lamps. The lamp was recovered from its fixture after the fire and stored as
evidence. However, the fixture in which the amp was installed was discarded by

Metso.

Metal Halide lamp technology

3. Metal Halide (MH) lamps, a type of High Intensity Discharge (HID) lights, produce
light by an electric discharge that excites a mixture of mercury vapor and the
products of the dissociation of halide salts of different metals. The metallic
mercury and metal halide saits are contained in a transparent cylindrical arc tube
that is made of quartz. The arc tube is enclosed in an outer glass bulb that is
filled with an inert gas. Figure 1 shows the construction of a typical metal halide
lamp. During use, the arc tube operates under high pressure and high

temperatures (as high as 1100°C).

4. Metal halide lamps offer good color quality and operate at high efficiencies over a
long life when compared to other lighting technologies. Table 1 compares the
typical efficiencies, in lumens per watt (Ipw), and rated life of different lighting
technologies. MH lamps have particularly high energy efficiency and therefore a
corresponding low cost of operation, as is clearly demonstrated by their efficiency

relative to common incandescent lamps that are used in almost every home

nationwide.

 

 
 

Case 3:08-cv-0004Z,RDM Document 88-1 Filed 03/24/11 Page 6 of 31

   
  
  
   

Nitrogen fill gas

Argon fill gas,
metal halide
& mercury vapor

Main electrode

Quartz tube
Main electrode — Starting electrode

Outer bulb
Starting resistor

Base

Figure 1: Construction of a typical metal halide lamp.

 

 

Lighting Rated life

Lighting Technology _ Efficiency fipw] [hrs]
Incandescent 5 - 22 750 - 2000
Halogen 12 - 36 2000 - 6000
Compact Fluorescent 27 - 80 9000 - 20000
Fluorescent 75 - 100 12000 - 24000
Mercury Vapor 50 - 60 12000 - 24000
Metal Halide 80-115 7300 - 20000
High Pressure Sodium 90 - 140 10000 - 40000

 

 

 

Table 1: Comparison of different lighting technologies showing lighting efficiency
and rated life for each technology

 

 
 

Case ee ewe Document 88-1 Filed 03/24/11 Page 7 of 31

In addition to their high energy efficiency and good color, metal halide HID jamps
provide multiple additional benefits.

The more natural lighting afforded by metal halide lamps contributes to
workplace safety over other widely used HID lamps such as high pressure
sodium lamps (HPS). HPS lamps are used widely over roadways, parking lots
and warehouses, but they emit a yellow-orange light.

The yellow-orange light from HPS lamps may be acceptable in parking lots, but it
hinders one’s ability to perceive color in color coded packaging, signs or reading
colored instructions in an indoor or outdoor environment.

The natural light and color contrast of MH HID lamps reduces worker fatigue in
comparison with environments that are lit using HPS lamps.

When an HID lamp reaches the end of its operating life, in the overwhelming

majority of cases it passively ceases to emit light.

10.In rare circumstances, the HID lamp can shatter during operation, producing hot

11.

quartz particles. Such an event is called a “non-passive failure” or NPF in the
industry. The risk of NPFs is extremely low if the user replaces the lamp before
its rated life and increases when the lamp is operated beyond its rated life
instead of replacing it.

There are applications where the risks posed by the small chance of hot particles
being emitted can be acceptable. Examples of such applications include
environments that do not pose a risk of fire. For such applications, the most

efficient, most easily maintained, and the lowest cost lighting solution is provided

by S-rated lamps operated in open fixtures.

 

 
 

Case eee Document 88-1 Filed 03/24/11 Page 8 of 31

12. The risks associated with S-rated HID lamps are substantially under the control
of the user. The HID lamp user is specifically instructed to reduce this low risk of
an NPF by a variety of measures.

13.GE recommends that the lamps not be located over combustible materials and
that the lamps be group-replaced prior to the end of their rated life instead of

running each bulb to failure.

Rated life of HID lamps

14. Manufacturers, including GE, publish rated lives for each lamp model. The rated
life of metal halide lamps is based on laboratory tests of a large number of lamps
under controlled conditions and cycling the lamps on for 10 hours per start. The
rated life is the median life of the tested population of lamps. In other words,
rated life is the time after which 50% of the tested lamp population is still working.
Many factors inherent in the lamp manufacture and usage introduce variability in
the life of individual lamps. The operating life of lamps can vary significantly from

its published value depending on its usage and the environment it is used in.

15. The rated life of the GE 750W metal halide lamp involved in this incident is

16,000 hrs.

16. For this type of lamp, GE predicts that the life of a lamp will be shortened
significantly if they are operated on cycles shorter than 10 hours. For example,

operation of these lamps on a 5 hours per start cycle reduces their expected life

to approximately 75% of the published value.

 
 

 

Case 3:08-cv-00047-RDM Document 88-1 Filed 03/24/11 Page 9 of 31

17.Metso paper used the GE lamps on weekends regularly where the lamps were
kept on for less than 10 hours each time, thereby shortening their expected life.
Metso also operated the lamps during the work week on a cycle that was

significantly less than 120 hours per start.

18.Metso paper did not have a group relamping program in place to replace these
lamps before the end of their rated life as is recommended by GE. The
information regarding the lamps’ rated life was provided to Metso in the form of a
2 page cover document as part of Andrew Kuzmick’s lighting proposal.

19. The incident lamp was manufactured in May 2002 and installed at Metso’s
facility in February 2003. Under the operating conditions represented by Metso,
the lamp that failed reached the end of its rated life of 16,000 hrs in September,
2005, four months prior to the incident in January, 2006.

20. Metso kept their MH HID lamps on from Monday to Friday and often turned them
back on for one or more short durations on the weekends.

21. Metso’s weekly operation of the GE 750W lamp was such that the expected
median life of their lamps would likely have been lower than the 16,000 hrs
presented by GE.

22. Metso did not keep track of the burning hours of the incident lamp or any other
lamp at their facility and, at the time of the incident, did not have any program in
place to replace the lamps as a group to ensure safe and efficient operation of
their light fixtures.

23. Metso’s failure to replace lamps before the end of their rated life was in direct

violation of all industry and manufacturers’ recommendations that were easily

 
 

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Case ee eee Document 88-1 Filed 03/24/11 Page 10 of 31

accessible to Metso paper and their contractors who specified, sold and
maintained the lighting system. These recommendations are discussed later in

the report.

Types of lamps and fixtures

24.MH lamps have fixture requirements that must be followed for safe operation of
the lamp depending upon the application in which the lamp is to be used. Lamps
that are rated “O” have an internal shroud and can be operated in an open or
enclosed fixture. Lamps with an “E” rating may be operated only in an enclosed
fixture that is designed to contain fragments of hot quarts or glass that may be
emitted from the lamps. Lamps with an “S” rating may be used in open or
enclosed fixtures, but they may be used in open fixtures only if they are operated
in a vertical +15° burning position. Used in any other orientation, the lamps must

be suitably enclosed.

25, The GE 750W lamp used at the Metso facility was S-rated. It was designed to be
operated in a vertical base up position in an open enclosure. For locations where
combustibles are present, GE recommends the usage of enclosed fixtures with
S-rated lamps. These are designed to contain the hot fragments of the arc-tube

in the rare event of a lamp rupture.

26. To this day, Metso continues to operate lamp fixtures with open fixtures and
bulbs that are not O-rated at their facility in Clarks Summit, PA where this

incident occurred. Figure 2 shows a photograph of two such fixtures taken on 8

April 2010. Figure 3 shows a close up of the lamps in these open fixtures.

 
 

Case ees Document 88-1 Filed 03/24/11 Page 11 of 31

 

Figure 2: Photograph taken April 8, 2010 showing continuing use of open fixtures by
Metso paper with unshrouded lamps.

 

Figure 3: Close up photographs of the unshrouded lamps in use by Metso. Photographs
taken April 8, 2010.

 

 
 

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Case a Document 88-1 Filed ~e Page 12 of 31
Benefits associated with the use of the GE 750W lamp

27.Metso increased the level of lighting in their warehouse significantly when they
installed the GE 750W metal halide lamps. Despite the increased level of lighting,
the GE 750W lamps achieved substantial savings in the annual cost of lighting
the warehouse. Their savings in energy costs allowed for the initial capital
expenditure associated with the installation of the new GE metal halide lights and
fixtures to be paid back within 2.5 years. Following this pay-back period, Metso
would have benefitted from substantial annual savings in lighting costs.

28.GE and all other major HID lamp manufacturers make and sell S-rated lamps.
These cost less than O-rated lamps. Similarly, fixture manufacturers make and
seil open fixtures that also cost less than enclosed fixtures.

29. To minimize the initial capital expenditure associated with the light fixtures, Metso
and the lighting design engineer, Andrew Kuzmick, chose open fixtures and S-
rated lamps for the Metso warehouse.

30.Only the owner and operator of the warehouse have the knowledge and the
control over the warehouse environment. This places the responsibility of
selection of fixtures and lamps and their maintenance and operation solely on the
end user, Metso, who should follow the manufacturer's guidelines and
recommendations.

31.For applications where even a small risk of exposure to hot arc-tube particles is

not acceptable, O-type bulbs that contain these particles are available as are

enclosed fixtures, but at added cost.

 
 

 

Case 3:08-cv-00047-RDM Document 88-1 Filed 03/24/11 Page 13 of 31

32. The balance between risk and cost savings can only be managed by the end
user, Metso, who must choose the lighting components in a manner that keeps
risk at an acceptably low level while managing the cost of their operation.

33.Metso chose a combination of fixtures and lamps that provided significant cost
savings in lighting the warehouse. The S-rated GE750W lamp is particularly
attractive due to its low operating costs.

34. Industry should not be denied access to this product, the cost savings it provides
and its other advantages for the many applications where it can be used with an
acceptably low level of risk of fire or injury.

35.In this case, Metso overlooked the recommendations provided by GE and used
5-rated lamps in the presence of combustible matertals and chose to operate the
lamps beyond their rated life instead of group-relamping at or before the end of

their rated life.

Costs associated with enclosed fixtures and O-rated lamps

36. The sections below quantify the cost savings associated with the S-rated lamps

and the additional cost that would be incurred in using O-rated lamps or enclosed

fixtures. Such costs should not be imposed onto end-users in applications where
S-rated lamps and open fixtures present an acceptably low level of risk of fire or
injury.

3/7.Enclosures or bulbs that can contain hot particles necessarily create additional
optical barriers to the light emission and additional physical barriers to cooling of

the bulb, causing the bulb to operate at higher temperatures. These factors tend

to reduce the amount of light from the fixture and tend to shorten bulb life.

 
 

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Case 3:08-cv-00047-RDM Document 88-1 Filed 03/24/11 Page 14 of 31

Cost associated with enclosed fixtures

38.As a result of the reduction in light from enclosed fixtures, more fixtures need to
be installed to provide the same amount of lighting in comparison with open
fixtures.

39. In order to maintain the same amount of light as the system chosen and installed
by Metso, the number of covered 750W lamp fixtures installed would have to
have been increased by 4 bringing the total number of lamp fixtures that Metso
would have had to purchase to 52.

40. Installation of 52 enclosed light fixtures instead of 48 open fixtures by Metso
would have increased their initial capital expenditure by almost $2500 and
increased their annual operating costs by $1500. This increased number of
lamps still provides a saving in energy over the pre-existing lighting configuration
in 2002, but a smaller one. Their annual savings in energy costs would have paid
for the initial capital costs of the system over a period of 4.5 years, two years
longer than the system that Metso installed with S-type lamps only.

41. The lens of enclosed fixtures requires additional maintenance, since it will collect
dust, insects and other debris. This adds to the maintenance cost.

42. The additional maintenance and cleaning of enclosed fixtures also brings about
new risks that do not exist for the unenclosed fixtures.

43.Cleaning the lens of an enclosed fixture requires service personnel to regularly

climb to the elevation of the luminaire, via ladder, lift, or other elevated platform,

all of which increase the risk of injury.

 
 

Case 3:08-cv-00047-RDM Document 88-1 Filed 03/24/11 Page 15 of 31

Costs associated with O-rated lamps

44.750W metal halide bulbs that are O-rated were not available at the time of the
original installation. Had Metso chosen the available O-rated 1000W lamps for
their installation, a smaller number of lamps and fixtures would have been
needed. As a result, the initial capital costs associated with these lamps would
have been higher by $750. The O-rated lamps cost more, but are also less
efficient in that they create less light for the same amount of electricity. As a
result, the annual operating cost of this system would have been higher by
$2,800 compared to the 750W system that Metso put in. This increased capital
cost and substantially higher operating costs would have required Metso to
operate the system for more than 6 years (4 years more than the GE 750W bulb
system) to recoup their capital cost, making this lighting system a comparatively

greater overhead burden on the facility.

Risk Analysis
45. Virtually all products, including electrical! products, have some risk associated

with their use. A “safe” product is not a “risk free” product. Rather, the definition

of “safe” is “acceptable risk.” Risk is measured in terms of frequency and
severity. |

46.Almost every product or device can be made “safer,” /.e., with a lower risk, by
designing features into the product that reduce the risk of failure. This almost

always makes the product more expensive, less convenient or both. As a society

and as users of products we balance cost and risk.

 

 
 

Case eee Document 88-1 Filed 03/24/11 Page 16 of 31

47.Merely presenting more risk to the user does not make a product “unsafe” or
“defective.” The market has never demanded, and should not demand, that all
product users always use the lowest risk product. To require this would lower
everyone's standard of living because a lower risk product, absent a technology
change, is almost always more expensive.

48. There are no risk free light sources. All existing lighting technology takes energy,
usually in electrical form but sometimes in thermal or chemical form, and
converts a fraction of that energy into visible light. There is always risk
associated with the use of significant energy for any purpose, including lighting.

49. As is often the case with very low risks, the small risk of NPF poses a substantial
technical challenge in quantifying just how small it is. The yearly rate of HID lamp
induced fires is so low that it is subject to considerable statistical uncertainty.

50.To put the risk of a metal halide lamp NPF resulting in fire for metal halide lamps
into perspective, it is much smaller than the risk of a lightning strike resulting in
fire. it is extremely rare, but GE still instructs end users to take specific measures
to reduce this very small risk.

51.It is estimated that nationally there are 46 million HID luminaires of which about
30 million are metal halide luminaires. It is estimated that, in 2000, a total of
about 35 million HID lights were sold in the US of which metal halide lamps
numbered 19.5 million.

52. In the three decades that HID lamps have seen wide spread use, lamp NPFs

that have been claimed to have resulted in a fire have numbered in the few

 
 

dozen. The fraction of these claims that were objectively determined to have
actually resulted from an NPF is unknown, but very small.

53. Examination of the millions of records of fire data in the National Fire Incident
Reporting System (NFIRS), in the period between 1999 and 2006, filled out by
responding fire departments nationwide and compiled by the National Fire
Administration showed that eight warehouse fires were listed as having been
caused by HID lamps and their fixtures. This included fires reported due to
mercury vapor, sodium vapor, metal halide lamps and their respective fixtures.
This also includes fires caused by ballasts. The number of fires caused by lamps
alone is therefore expected to be less than 8.

54.In the same period, more than 150 fires in warehouses and similar industrial
structures were reported as a result of lightning strikes.

55. Examination of the NFIRS data shows that warehouses are at far greater risk of
fire from other causes associated with building utilities, such as their heating and
ventilation equipment.

56.Heating and ventilation equipment installed in warehouses accounted for 415

fires compared to the 8 fires that were attributed to HID lights and their fixtures in

the data collected between 1999 and 2006.

Labeling and communication of hazards

57.The GE MVR750/VBU/PA 750W Metal Halide lamp is not a consumer product
and is used in commercial and industrial locations.

58.GE’s product literature for the 750W metal halide lamp involved in the incident,

as well as their lighting catalogs warned of potential damage due to the improper

 
 

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Case eee Document 88-1 Filed 03/24/11 Page 18 of 31

use of HID lamps. These materials also specified the rated life of the lamps and
recommended that group relamping be done before the end of rated life of the
lamps.

59. Information regarding the rated life and relamping of lights prior to the end of their
rated life was provided to Metso well before Metso purchased the lights. This
information was provided in the form of a short 2-page brochure with the lighting

proposal prepared for Metso by Andrew Kuzmick.

60. In addition to the information in GE's catalogs and marketing materials, there was
and is widely available literature concerning the small risk associated with
nonpassive failure and how to virtually eliminate that risk (E.g.: NEMA LSD 25:
Best practices for Metal Halide Lighting systems, the IESNA lighting Handbook).

61.Even as early as 1998, insurance industry bodies like Industrial Risk Insurers
(IRI) recommended that HID light fixtures not be located above areas where
combustibie materials are present. They also suggested that users maintain
records of lamp operating hours and implement group relamping practices before
the end of their rated life. 1RI also recommended compliance with manufacturers’
guidelines to reduce the risk of fires due to nonpassive failures of metal halide
lamps.

62.Commercial insurance companies, like FM Global, in 2002 also suggested that
their insured customers follow the requirements shown on manufacturers’

bulletins and recommended that users replace their lamps prior to end of rated

life by group relamping.

 
 

Case a a Document 88-1 Filed 03/24/11 Page 19 of 31

63. It should have been clear to those responsible for maintaining the lights in this
warehouse that the MH lamps must be replaced at, or prior to, the end of their
rated life in order to minimize the risk of nonpassive failure. It is most effective to
replace lights in groups (group relamping) to eliminate the possibility that any one
light is used beyond its rated life. It was also clear by 2002 that open metal
halide fixtures should not be placed over combustible material and that either
protected lamps (shrouded) or lens covers should be used in such applications.
These measures were particularly important in light of the fact that Metso ignored
GE’s and the industry's recommendation to relamp at or prior the end of the rated

life of the lamps, and to replace all lamps at once.

 

  
 

Case eee Document 88-1 Filed 03/24/11 Page 20 of 31

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Corporate Vice President
Professional Profile

Dr. Harri Kyt6émaa is a Corporate Vice President and Director of the Thermal Sciences Practice,
specializing in mechanical engineering and the analysis of thermal and flow processes.

Dr. Kytémaa applies his expertise to the investigation and prevention of failures in mechanical
systems, including combustion equipment. He also investigates fires and explosions, and the
determination of their cause and origin. Dr. Kytémaa investigates such failures in aircraft,
moior vehicles, marine facilities, industrial and manufacturing complexes, and office and
residential occupancies. He has also provided consultation to the power generation, oil and gas,
chemical, pulp and paper, and metal smelting industries. Dr. Kytémaa’s project experience
includes turbines, compressors, boilers, smelters, pneumatic and hydraulic systems,
instrumentation, nuclear waste management, heat transfer systems, flammable vapors,
flammable liquids, CO formation and migration and cryogenic liquids including LNG and its
associated equipment.

Dr. Kyt6émaa has decades of experience in the area of dynamics and analysis of piping systems
containing both liquids and gases. He has developed modeling tools to describe the response of
liquid and gas piping systems to artificially induced sources of flow pulsation, as well as to
natural sources such as those associated with reciprocating and rotating equipment, and piping
components. He has applied these tools to modeling the dynamics and acoustics of drilling fluid
filled piping systems for acoustic telemetry and Measurement-While-Drilling systems (MWD),
which was one of the enabling technologies for directional drilling. Dr. Kytémaa has also
applied his flow and acoustic expertise to gas piping and rotating equipment including gas
turbines and compressors. This experience includes the characterization of rapidly varying
pressures and forces caused by the interruption of rotating equipment or the sudden closing of
valves and their effects.

Dr. Kytémaa has held several academic, research, and consulting positions, including that of
Associate Professor of Mechanical Engineering at the Massachusetts Institute of Technology
where he was head of the Fluid Mechanics Laboratory. He has also held positions as Visiting
Professor at the Helsinki University of Technology and at the DOE Pacific Northwest
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Case eee Document 88-1 Filed 03/24/11 Page 21 of 31

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Professor in Ocean Utilization, 1991-1993; Chairman, Organizing Committee, Engineering
Foundation Workshop, Davos, Switzerland, 1993; National Science Foundation Review
Panelist, Washington, DC, 1990; National Science Foundation Group Leader, Acoustic Methods
Workshop on Visualization of Particulate Two-Phase Flows, Washington, DC, 1990;

Diver in the Finnish Navy, rank Able Seaman, Distinguished Service, 1980; Institute of
Mechanical Engineers Prize for Outstanding Project Work (United Kingdom), 1979

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Page 2 ; “A
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Case Hees Document 88-1 Filed 03/24/11 Page 22 of 31

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Member: American Society of Mechanical Engineers; American Institute of Chemical
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Harri K. Kytémaa, Ph.D.. CFEL CFI

Page 9 wo
12/09 fv

 
 

Case oe meow Document 88-1 Filed 03/24/11 Page 29 of 31

Expert Testimony of

Harri K. Kytémaa, Ph.D.
Delivered in the Preceding Four

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Timothy Healey

 

 

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Expert Testimony of Harri K. Kytémaa, Ph.D. Delivered in the Preceding Four Years

 

 
 

Case Vy Document 88-1 Filed 03/24/11 Page 30 of 31

 

 

 

 

 

 

 

 

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Expert Testimony of Harri K. Kytémaa, Ph.D. Delivered in the Preceding Four Years
2

 

 
Case seeeweoge Document 88-1 Filed 03/24/11 Page 31 of 31

Compensation

Exponent Failure Analysis Associates, Inc. is compensated at $495.00 per hour for Harri
K. Kytomaa’s services.

Updated: August 31, 2010

Expert Testimony of Harri K. Kytémaa, Ph.D. Delivered in the Preceding Four Years
3

 
